Case 9:24-cv-80022-DMM Document 58 Entered on FLSD Docket 08/30/2024 Page 1 of 1
    USCA11 Case: 24-12818 Document: 1-2 Date Filed: 08/30/2024 Page: 1 of 1


                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                    Case No. 9:24-cv-80022-DMM


   Ryan Gould,

          Plaintiff,

   v.

   Bethany Guerriero, et ano.,

          Defendants.


                                      NOTICE OF APPEAL

         Notice is hereby given that Plaintiff Ryan Gould appeals to the United States Court of

  Appeals for the Eleventh Circuit from the final judgment granting the motions for summary

  judgment filed by Defendants Bethany Guerriero and Joseph Strzelecki, entered in this action on

  August 29, 2024. [ECF Nos. 56, 57].

  Dated: August 30, 2024
                                             Respectfully submitted,

                                             James M. Slater
                                             James M. Slater (FBN 111779)
                                             Slater Legal PLLC
                                             9000 Dadeland Blvd. #1500
                                             Miami, Florida 33156
                                             Tel. (305) 523-9023
                                             james@slater.legal

                                             Attorneys for Plaintiff Ryan Gould
